UNITED STATES DISTRICT COURT

masrey Srereye? OF NEW YORE NO SUMMONS ISSUED

CARRIE WILLIAMS, Case No.
oo
Plaintiff ve $e,
: Pp os
- against - NOTICE OF REMOVAL

TUTOR PERINI CORPORATION, PERINI
CORPORATION AND “JOHN DOR”, a
fictitious name, intended to be the
operator of the defendant’s vehicle,

Defendants.

TO: THE HONORABLE JUDGES OF THE UNITED STATES
DISTRICT COURT FOR THE EASTERN DISTRICT
OF NEW YORK

PLEASE TAKE NOTICE, that defendants Tutor Perini Corporation and
Perini Corporation (they are the same entity: Tutor Perini
Corporation formerly was known as Perini Corporation), by their
undersigned attorneys, The Law Offices of Kenneth Arthur Rigby, PLLC,

respectfully submit as follows:

1. The above~captioned civil action was filed in the Supreme
Court of the State of New York, County of Kings, on or about October
24, 2014, by Summons and Verified Complaint dated October 13, 2014,
and currently is pending in that Court under Index Number 15131/2014.
A copy of the Summons and Verified Complaint is annexed hereto as

Exhibit “A”,

2. The Summons and Verified Complaint was served on defendant

Tutor Perini Corporation by delivery to the Secretary of State in
Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15. Page 2 of 67 PagelD #: 2

Albany, New York, on November 3, 2014. See Exhibit “BY” annexed
hereto.
3. The Verified Complaint in this action alleges that on or

about July 10, 2014, at approximateiy 5:30 p.m., while the plaintiff
was a lawful pedestrian at or near the intersection of Avenue H and
Flatbush Avenue, County of Kings, State of New York, the motor vehicle
that was being operated by defendant “JOHN DOE” came into contact with
the plaintiff, causing the plaintiff to suffer severe and serious
personal injuries. See Exhibit “A” annexed hereto, at Paragraphs 37-

39.

4, The Verified Complaint contains a general prayer for
relief, but does not state a specific amount of damages to which the
plaintiff deems herself entitled. See Exhibit “A” annexed hereto, at

Paragraphs 43 and 47 and at the concluding “WHEREFORE” clause,

5. Limited proceedings have taken place in the Supreme Court
of the State of New York, County of Kings, since the filing of the
summons and Verified Complaint. These limited proceedings are the

following:

a. On November 25, 2014, this law office served (i) a
Verified Answer (dated November 22, 2014), and (ii) a
Notice Of Deposition (dated November 22, 2014) on
behalf of defendants Tutor Perini Corporation and

Perini Corporation (see Exhibit “C” annexed hereto);

b. On November 25, 2014, this law office also served a

Request For Supplemental Demand Pursuant To CPLR
Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 .Page 3 of 67 PagelD #: 3

3017 (c} (dated November 22, 2014) on behalf of
defendants Tutor Perini Corporation and Perini
Corporation requesting that the plaintiff set forth
the total damages to which she deems herself entitled

(see Exhibit “D” annexed hereto) ;

c. On or about December 26, 2014, the plaintiff’s counsel
served by regular mail the Plaintiff's Response To
Request For Supplemental Demand Pursuant To CPLR
3017(c) Dated November 22, 2014 (dated December 16,

2014) (see Exhibit “Eg” annexed hereto}; and

d. On or about December 26, 2014, the plaintiff's counsel
also served (i) a Request For Judicial Intervention
and a Request For A Preliminary Conference (each dated
December 16, 2014), (ii) a Notice To Admit (dated
December 16, 2014), (iii) a Plaintiff's Demand For A
Verified Bill Of Particulars (dated December 16,
2014), (iv) a Plaintiff's Combined Demands For
Discovery (dated December 16, 2014), (Vv) a Cross-
Notice Of Deposition {dated December 16, 2014), (vi) a
Notice Of Availability For Physical Examination (dated
December 16, 2014), (vii) a Plaintiff's Demand For
Expert Witnesses {dated December 16, 2014), (viii) a
Plaintiff’s Demand For Addresses (dated December 16,
2014), and (ix) a Notice Declining Service Via
Electronic Mail Or Fax (dated December 16, 2014),

(see Exhibit “F” annexed hereto).

~3-
Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 .Page 4 of 67 PagelD #: 4

6. The plaintiff’s Response To Request For Supplemental Demand
Pursuant To CPLR 3017(c) Dated November 22, 2014 (dated December 16,
2014), which this law office received on December 31, 2014,
Particuliarizes for the first time the amount of damages to which the
piaintiff deems herself entitled and, specifically, demands the sum of

$1,000,000.00 in damages. See Exhibit “2” annexed hereto,

7, The plaintiff alleges in her Verified Complaint that she is
a resident of the State of New York (see Exhibit “A” annexed hereto,
at Paragraph 1); and the Summons recites that the plaintiff resides at
839 E. 34th Street, Brooklyn, New York (see Exhibit “A” annexed

hereto).

8, Defendants Tutor Perini Corporation and Perini Corporation
(they are the same entity: Tutor Perini Corporation formerly was
known as Perini Corporation) are incorporated under the laws of the
State of Massachusetts with their principal place of business located
at 15301 Olden Street, Sylmar, California 91342, See Exhibit “G”

annexed hereto.

3. This Court has original jurisdiction of this action,
pursuant to 28 U.S.C. §1332(a), on the grounds of diversity of
citizenship.

190. Removal of this action to this Court is proper, pursuant to

28 U.S.C. §1441(a), because the Eastern District of New York is the
judicial district embracing the place where the State court action is

pending.
Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 Page 5 of 67 PagelD #: 5

Dated: New York, New York
January /$ , 2015

Respectfully submitted,

THE LAW OFFICES OF

KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendants
TUTOR PERINI CORPORATION
and PERINI CORPORATION

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Kenneth Arthur Rigby (KR 0266)
15 Maiden Lane, Suite 1500
New York, New York 10038

(212) 629-7575
karigby@karigbylaw.com
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Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 Page 6 of 67 PagelD #: 6
SACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS \
Filed: lo W4 hy
CARRIE WILLIAMS, INDEX NO. ly
Plaintiff ISIZi hy
Plaintiff designates Kings
~against- County as the place of trial.

TUTOR PERINI CORPORATION, PERINI CORPORATION SUMMONS

AND "JOHN DOE", a fictitious name, intended to be the operator

of the defendant's vehicle, The basis of venue is
Plaintiff's residence:

Defendants. 839 E 34th Street

Brooklyn, New York

To the above named Defendants:
YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
a copy of your answer on the plaintiff's attorneys within 20 days after the service of this summons,

exclusive of the day of service of this summons, or within 30 days after service of this summons is

complete if this summons is not personally delivered-fo youjwithin the State of New York.

In case of your failure to answe éns, a j¥dgment by default will be taken against

you for the relief demanded in the a gether w7th the costs of this action.

Dated: Astoria, New York
October 13, 2014

C7 18) 146- 3440

TUTOR PERINI CORPORATION
2 Skyline Drive
Hawthorne, New York 10532

-~ Case 1:15-cv-00228-NGG-CLP.. Document 1. Filed 01/15/15 Page 8.of 67 PagelD #: 8

PERINI CORPORATION
2 Skyline Drive
Hawthorne, New York 10532

SACCO & FILLAS, LLP

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SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO.
CARRIE WILLIAMS,
Plaintiff,
VERIFIED COMPLAINT
-against-

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND "JOHN DOE",,
Defendants.

Plaintiff, by her attorneys, SACCO & FILLAS, LLP, as and for her Complaint,
respectfully alleges, upon information and belief:

AS AND FOR A FIRST CAUSE OF ACTION

1. The plaintiff, CARRIE WILLIAMS, at ail times herein mentioned was and still is a
resident of the County of Kings and the State of New York.

2. The defendant TUTOR PERINI CORPORATION, at all times herein mentioned, was
and still is a foreign corporation organized and existing under.the laws of the State of New York,
with its principal place of business situated in the County of Westchester and the State of New
York,

3, The defendant TUTOR PERINI CORPORATION, at all times herein mentioned was
and still is a foreign corporation duly licensed and authorized to do business in the State of New
York.

4. The defendant, TUTOR PERINI CORPORATION, at all times herein mentioned
conducted and carried on business in the County of Westchester and the State of New York.

5. At all times herein mentioned, defendant TUTOR PERINI CORPORATION transacted
business within the State of New York.

6. At all times herein mentioned, defendant TUTOR PERINI CORPORATION derived

SACCO .. FILLAS, LLP

substantial revenue from goods used or consumed or services rendered in the State of New York.

7. At all times herein mentioned, defendant TUTOR PERINI CORPORATION expected
or should reasonably have expected its acts to have consequences in the State of New York.

8. At all times herein mentioned, defendant TUTOR PERINI CORPORATION derived
substantial revenue from interstate or international commerce.

9. The defendant PERINI CORPORATION, at all times herein mentioned, was and still is
a foreign business organized and existing under the laws of the State of New York, with its
principal place of business situated in the County of Westchester and the State of New York.

10. The defendant PERINI CORPORATION, at all times herein mentioned was and still is
a foreign corporation duly licensed and authorized to do business in the State of New York.

11, The defendant, PERINI CORPORATION, at all times herein mentioned conducted
and carried on business in the County of Westchester and the State of New York.

12. At all times herein mentioned, defendant PERINI CORPORATION transacted
business within the State of New York.

13. At all times herein mentioned, defendant PERINI CORPORATION derived
substantial revenue from goods used cr consumed or services rendered in the State of New York.

14. At all times herein mentioned, defendant PERINI CORPORATION expected or
should reasonably have expected its acts to have consequences in the State of New York.

15. At all times herem mentioned, defendant PERINI CORPORATION derived
substantial revenue from interstate or international commerce.

16. On or about July 10, 2014, TUTOR PERINI CORPORATION was the owner of a
certain automobile, bearing license plate number CHB8129.

17. On or about July 10, 2014, TUTOR PERINI CORPORATION was the registered
owner of a certain automobile, bearing license plate number CHB8129.

18. On or about July 10, 2014, TUTOR PERINI CORPORATION was the titled owner
of a certain automobile, bearing license plate number CHB8129.

19. On or about July 10, 2014, TUTOR PERINI CORPORATION was the lessee of a

SACCO & FILLAS, LLP

certain automobile, bearing license plate number CHB8129,

20. On or about July 10, 2014, TUTOR PERINI CORPORATION was the lessor of a
certain automobile, bearing license plate number CHB8129.

21. On or about July 10, 2014, TUTOR PERINI CORPORATION maintained a certain
automobile, bearing license plate number CHB8129,

22, On or about July 10, 2014, TUTOR PERINI CORPORATION controlled a certain
automobile, bearing license plate number CHB8129.

23. On or about July 10, 2014, PERINI CORPORATION was the owner of a certain
automobile, bearing license plate number CHB8129.

24, On or about July 10, 2014, PERINI CORPORATION was the registered owner of a
certain automobile, bearing license plate number CHB8129.

25. On or about July 10, 2014, PERINI CORPORATION was the titled owner of a
certain automobile, bearing license plate number CHB8129.

26. On or about July 10, 2014, PERINI CORPORATION was the lessee of a certain
automobile, bearing license plate number CHB8129,

27. On or about July 10, 2014, PERINI CORPORATION was the lessor of a certain
automobile, bearing license plate number CHB8129.

28, On or about July 10, 2014, PERINI CORPORATION maintained a certain
automobile, bearing license plate number CHB8129.

29. On or about July 10, 2014, PERINI CORPORATION controlled a certain automobile,
bearing license plate number CHB8129.

30. On or about July 10, 2014, TUTOR PERINI CORPORATION, its agents, servants
and/or employees were negligent, carless, and reckless, in the ownership, operation, inspection,
supervision, maintenance, control, and repair of the aforesaid motor vehicle.

31, On or about July 10, 2014, PERINI CORPORATION, its agents, servants and/or
employees were negligent, carless, and reckless, in the ownership, operation, inspection,

supervision, Maintenance, control, and repair of the aforesaid motor vehicle

32. On or about July 10, 2014, John Doe was an employee of TUTOR PERINI
CORPORATION.

33. On or about July 10, 2014, John Doe was an employee of PERINI CORPORATION.

34, On or about July 10, 2014, John Doe, a fictitious name, was the operator of a certain
automobile, bearing license plate number CHB8129.

35, On or about July 10, 2014, John Doe was operating a certain automobile, bearing
license plate number CHB8129, under the course of his employment.

36. On or about July 10, 2014, the automobile was being operated by John Doe with the
express knowledge, consent and/or on the business of its owner.

37, On or about July 10, 2014, plaintiff CARRIE WILLIAMS was a lawful pedestrian
while at or near the intersection of Avenue H and Flatbush Avenue, County of Kings, State of
New York.

38. On or about July 10, 2014, at approximately 5:30pm the vehicle operated by the
defendant “JOHN "DOE" came in contact with the person of the plaintiff CARRIE WILLIAMS
at or near the intersection of Avenue H and Flatbush Avenue, County of Kings, State of New
York.

39. Solely as a result of the defendants' negligence, carelessness and recklessness the
plaintiff was caused to suffer severe and serious personal injuries to mind and body, and further,
that the plaintiff was subjected to great physical pain and mental anguish.

40. The aforesaid occurrence was caused by the negligence of the defendants, without any
culpable conduct on the part of the plaintiff.

41, Asa result of the foregoing, the plaintiff sustained serious personal injuries as defined
in Section 5102¢d) of the Insurance Law of the State of New York, and/or economic loss greater
than basic economic loss as defined in Section 5102(a) of the Insurance Law of the State of New
York,

42. This action falls within one or more of the exceptions set forth in Section 1602 of the

SACCO & FILLAS, LLP

SACCO & FILLAS, LLP

Civil Practice Law and Rules.

43. Due to defendants’ negligence, plaintiff is entitled to damages in a sum which exceeds

the jurisdictional limit of all lower Courts which would otherwise have jurisdiction.
AS AND FOR A SECOND CAUSE OF ACTION

44, Plaintiff, Carrie Williams, repeats and realleges each and every allegation contained in
the above paragraphs of the Complaint as if fully set forth at length herein.

45, On or about July 10, 2014, the Defendant, TUTOR PERINI CORPORATION,
negligently entrusted their vehicle to the Defendant, John Doe, a fictitious name, who the
defendant TUTOR PERINI CORPORATION, knew or should have known was incompetent and
untrained to operate the vehicle belonging to the Defendant, TUTOR PERINI CORPORATION.

46. On or about July 10, 2014, the Defendant, PERINI CORPORATION, negligently
entrusted their vehicle to the Defendant, John Doe, a fictitious name, who the defendant PERINI
CORPORATION, knew or should have known was incompetent and untrained to operate the
vehicle belonging to the Defendant, PERINI CORPORATION.

47. Due to defendants’ negligence, plaintiff, Carrie Williams, is entitled to damages in an
amount exceeding the monetary jurisdictional limits of all lower courts which would otherwise
have jurisdiction.

WHEREFORE, the plaintiff demand:

a. Judgment awarding damages on the first cause of action, in an amount
exceeding the monetary jurisdictional limits of all Jower courts which would otherwise have
jurisdiction;

b. Judgment awarding damages on the second cause of action, in an amount
exceeding the monetary jurisdictional limits of all lower courts which would otherwise have
jurisdiction;

c. Interest, the costs and disbursements of this action, together with such other and

further relief as to this Court seems just and proper.

SACCO & FILLAS, LLP

Dated: Astoria, New York
October 13, 2014

Seventh Floor
Astoria,
(718) 746-3440

Our File No.: 13622-14

SACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO.
CARRIE WILLIAMS,
Plaintiff,
ATTORNEY'S
-against- VERIFICATION

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND "JOHN DOE", a fictitious name, intended to be the operator
of the defendant's vehicle,

Defendants.

Tonino Sacco, an attorney duly admitted to practice Jaw in the State of New York, makes
the following affirmation under the penalty of perjury:

Tam of the firm of SACCO & FILLAS, LLP, the attorneys of record for the plaintiff.
[have read the foregoing Complaint and know the contents thereof; the same is true to my
own knowledge except as to the matters therein stated to be alleged on information and belief and

that as to chose matters, I believe them to be true.

This verification is made by affirmant and not by plaintiff because she is not in the County
of Queens, which is the County where your affirmant maintains offices.

Dated: Astoria, New York
October 13, 2014

TONINOZAccO \

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
Index No.
CARRIE WILLIAMS,
Plaintiff,
-against- —

TUTOR PERINI CORPORATION, PERINI CORPORATION AND “JOHN DOE’, a fictitious
name, intended to be the operator of the defendant's vehicle,
Defendants.

Dated: October 13, 2014 Signature:

Toptno Sacco, Egy.

Seventh Floor
Astoria, New York 11102
(718) 746-3440

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.« Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 Page 18 of 67 PagelD #: 18

State of New York - Department of State
Division of Corporations

Party Served: Plaintiff/Petitioner:
TUTOR PERINI CORPORATION WILLIAMS, CARRIE

C/O C T CORPORATION SYSTEM
111 EIGHTH AVENUE
NEW YORK, NY 10011

Dear Sir/Madam:

Enclosed herewith is a legal document which was served upon the Secretary of
State on 11/03/2014 pursuant to SECTION 306 OF THE BUSINESS CORPORATION LAW.
This copy is being transmitted pursuant to such statute to the address
provided for such purpose,

Very truly yours,
Division of Corporations

1 CT Corporation

Service of Process
Transmittal
41/12/2014

CT Log Number 526054452

TO: Lisa Melonas, Executive Assistant

Tutor Perini Corporation

15901 Olden Street
Sylmar, CA 91342-1093

RE: Process Served In New York

FOR: ‘Tutor Perini Corporation (Domestic State: MA}

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ADQVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
OOCUMENT(S) SERVED:

COURT/AGENCY:

HATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE:
JURISDICTION SERVED 1
APPEARANCE OF ANSWER GUE;

ATTORNEY(5) { SENDER(S):

REMARKS:

ACTION (TEMS:

SIGNED:
ADDRESS:

TELEPHONE:

Carrie Williams, Pltf. vs. Tutor Perini Corporation, et al., Dts.
Letter, Summons, Verified Complaint, Verification, Attachment

Kings County: Supreme Court, NY
Case 1513114 P

Personal injury - Vehicle Cotiision - On or about July 10, 204 at approximately 5:30
P.M,

CT Cerporation System, New York, NY

By Certified Mail on 11/12/2014 postmarked on 11/07/2014
New York

Within 30 days after completion of service

Torino Sacco

Sacco & Fillas, LLP
31-19 Newtown Avenue
Seventh Floor

Astoria, NY 11102
718-746-3440

Documents were served upon the New York Secretary of State on 11/03/2014 and
forwarded to CT Corporation,

CT has retained the current log, Retain Date: 41/12/2014, Expected Purge Date:
14/17/2014
Image SOP

Email Notification, Lisa Melonas
Email Notification, Michelle Luster ;

CT Corporation System
111 Eighth Avenue

13th Floor

New York, NY 10011
212-590-9070

Page 1 of 1 / MK

Information displayed on this transmittal Is for CT Corporation's
record keeping purposes onty and is provided ta the recipient far
quick reference. This Infonnation does not constitute a legal
opinion as to the nature of action, the amount of damages, the
answer date, or any infgrmation contained in the documents
themselves. Rectplent {s respansible for interpreting said
documents and for taking appropriate action, Signatures on
certified mail receipts confinm receipt of package only, not
contents,
Case 1:15-cv-00228-NGG-CLP Document 1 Filed 01/15/15 Page 20 of 67 PagelD #: 20
SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
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CARRIE WILLIAMS
Plaintiff, Index No. 15131/2014
VERIFIED ANSWER
~against-

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND “JOHN DOE”,

Defendants.
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Defendants, TUTOR PERINI CORPORATION and PERINI CORPORATION,
(hereinafter also “Defendants” or “Defendant’), by their attorneys, Law Offices of Kenneth
Arthur Rigby, PLLC, as and for their Verified Answer ( hereinafter also “Verified Answer”
and/or “Answer”) to the Verified Complaint (herein after also “Complaint”), dated October 13,
2014, state as follows:

AS AND FOR A FIRST CAUSE OF ACTION

1. Deny knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraphs 1, 4, 5, 6, 7, 8, 34, 35, 36, 37, 38 and 42 of the Complaint.

2. Deny the allegations set forth in paragraphs 2, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 39, 40, 41 and 43 of the Complaint.

3. Admit the allegations set forth in paragraph 3 of the Complaint.

AS AND FOR A SECOND CAUSE OF ACTION

4, These answering defendants repeat, reiterate, and re-allege each and every fact,
admission and/or denial set forth in paragraphs 1-3 of this Answer, and to paragraphs 1-44 of the
Complaint, with the same force and effect as if more fully set forth at length herein.

5. Deny the allegations set forth in paragraphs 45, 46 and 47 of the Complaint.

AS AND FOR A FIRST AFFIRMATIVE DEFENSE

6. Plaintiff fails to state a cause of action upon which relief may be granted upon these
answering defendants.

AS AND FOR A SECOND AFFIRMATIVE DEFENSE

7. If plaintiff was caused to suffer any loss or damages as alleged in the Complaint, such
were caused, in whole or in part, by reason of the carelessness and negligence on the part of the
plaintiff, without any fault, negligence or want of care on the part of these answering defendants
contributing thereto.

AS AND FOR A THIRD AFFIRMATIVE DEFENSE

8. Plaintiff has failed to mitigate his damages.

AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

9. The liability of these answering defendants, if any, pursuant to the provisions of CPLR§
1601, is limited to the percentage of culpability found against them individually, and these
answering defendants shall not be responsible for any percentage of culpability attributed to
other individuals and/or entities, whether named or unnamed, over whom plaintiff could have
obtained persona! jurisdiction with due diligence.

AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

10. Any past or future cost or medical expenses incurred or to be incurred by plaintiff for
medical care, custodial care or rehabilitative services, loss of earnings, or other economic loss,

has or will with reasonable certainty be replaced or indemnified in whole or in part from

-2-
collateral sources as defined under Section 4545 of the New York Civil Practice Law and Rules,
and if any damages are recovered against these answering defendants, the amount of such
damages shall be diminished by the amount of funds which plaintiff has or shall receive from
such collateral sources as insurance, social security, workers compensation, or employee benefit
programs.

AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

11. If plaintiff has or will suffer any damages as alleged, such were caused solely by the acts
or omissions of third parties over whom these answering defendants exercised no control.

AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

12, The alleged defect/condition upon which plaintiff was injured was open and obvious and
defendants, therefore, owed plaintiff no duty and cannot be found negligent.

AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

13. Plaintiff knowingly and voluntarily assumed the risk of injury.

AS AND FOR A NINTH AFFIRMATIVE DEFENSE

14. Plaintiff did not sustain serious injury as defined in Section 5102(d) of the Insurance
Law.

AS AND FOR A TENTH AFFIRMATIVE DEFENSE

15. Plaintiff failed to sustain economic loss greater than basic economic loss so as to satisfy

the exceptions to Section 5104 of the Insurance Law.

AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

16.  Plaintiff’s actions were the sole proximate cause of her injuries.

AS AND FOR AN TWELFTH AFFIRMATIVE DEFENSE

17. This Court lacks subject matter jurisdiction over these defendants.
AS AND FOR AN THIRTEENTH AFFIRMATIVE DEFENSE

18. This Court lacks personal jurisdiction over these defendants in that service was not
properly made.

AS AND FOR AN FOURTEENTH AFFIRMATIVE DEFENSE

19. These defendants are not properly before the Court.

AS AND FOR AN FIFTEENTH AFFIRMATIVE DEFENSE

20. These defendants are not proper parties to this action.

WHEREFORE, defendants, TUTOR PERINI CORPORATION and PERINI
CORPORATION, demand judgment dismissing the Verified Complaint of plaintiff, CARRIE
WILLIAMS, dated October 13, 2014, and, respectfully, request that this Court grant such other

and further relief as it deems just and proper.

Dated: November 22, 2014
Respectfully submitted,

Law Offices of Kenneth Arthur Rigby, PLLC
Attorneys for Defendants,
TUTOR PERINI CORPORATION and
PERINI CORPORATION

By: / AN

[ Kenneth Arthur Rigby, Esq.
15 Maiden Lane, Suite 1500
New York, New York 10038
(212) 629-7575

TO:

Sacco & Fillas, LLP
Attorneys for Plaintiff
31-19 Newtown Avenue
Seventh Floor

Astoria, NY 11102
(718) 746-3440
ATTORNEY’S VERIFICATION

Kenneth Arthur Rigby, an attorney duly admitted to practice law in the State of New
York, affirms the following statements to be true under the penalties of perjury:

That I am principal of the Law Offices of Kenneth Arthur Rigby, PLLC, the attorneys-of-
record for defendants, TUTOR PERINI CORPORATION and PERINI CORPORATION, in this
action; that I have read the foregoing verified answer and know the contents thereof; that the
same are true to my own knowledge except for those matters stated therein upon information and
belief and, as to those matters, I believe such to be true.

That the grounds of my belief as to all matters not stated upon my knowledge are records,
documents and/or information supplied by or on behalf of defendants, TUTOR PERINI
CORPORATION and PERINI CORPORATION, obtained through this law firm’s investigation
of the plaintiffs’ claims, and the contents of the case file maintained in affirmant’s office.

That this verification is made pursuant to Section 3020(d)(3) of the New York Civil
Practice Law and Rules on the ground that TUTOR PERINI CORPORATION and PERINI
CORPORATION are foreign corporations none of whose officers are within the county where
the affirmant has his offices.

Dated: New York, New York
November 22, 2014

(/Kenneth Arthur Rigby, Esq.
SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
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CARRIE WILLIAMS
Plaintiff, Index No. 15131/2014
NOTICE OF DEPOSITION
-against-

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND “JOHN DOE”,

Defendants.
---- -- “ xX

PLEASE TAKE NOTICE that defendants by their undersigned attorneys, the Law Offices of
Kenneth Arthur Rigby, PLLC, pursuant to Article 31 of the New York Civil Practice Law and
Rules, hereby give notice that the testimony, upon oral examinations, of plaintiff as an adverse
party will be taken before a notary public who is not an attorney or an employee of an attorney
for any party or prospective party herein and is not a person who would be disqualified to act as
a juror because of interest or because of consanguinity or affinity to any party herein, at the Law
Offices of Kenneth Arthur Rigby, PLLC located at 15 Maiden Lane, Suite 1500, New York, NY
10038, at 10:00 a.m., on March 10, 2015 with respect to evidence material and necessary in the
prosecution and/or defense of this action on the issues of liability and damages.. The said oral

examination will continue day-to-day until completed.

PLEASE TAKE FURTHER NOTICE, that pursuant to Section 3111 of the New York
Civil Practice Law and Rules plaintiffs are required to produce at such examination all books, ~
papers, records and all other materials and things in their possession, custody or control that are

relevant to this action.
.. Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 Page 27 of 67 PagelD #: 27

Dated: November 22, 2014

Respectfully submitted,
Law Offices of Kenneth Arthur Rigby, PLLC
Attorneys for Defendants,
TUTOR PERINI CORPORATION and
PERINI CORPORATION
By:
Kenneth Arthur Rigby, Esq.

15 Maiden Lane, Suite 1500
New York, New York 10038
(212) 629-7575

TO:

Sacco & Fillas, LLP
Attorneys for Plaintiff
31-19 Newtown Avenue
Seventh Floor

Astoria, NY 11102
(718) 746-3440
Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 Page 28 of 67 PagelD #: 28
SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
wen e ence ee eeeneee ane --- -- -X
CARRIE WILLIAMS
Plaintiff, Index No. 15131/2014
REQUEST FOR SUPPLEMENTAL DEMAND
PURSUANT TO CPLR 3017 (c)
-against-

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND “JOHN DOE”,

Defendants.
voce ep eeeaneeeeneecuneeenes ann: _- x

(hereinafter also “defendants”), by their attorneys, Law Offices of Kenneth Arthur Rigby, PLLC,
hereby, demands pursuant to Civil Practice Law and Rules Section 3017 (c), that you produce in
writing the following information within 15 days of this Request:
l. A supplemental demand setting forth the total damages to which plaintiff deems herself
entitled.
Dated: November 22, 2014
Respectfully submitted,
Law Offices of Kenneth Arthur Rigby, PLLC
Attorneys for Defendants,

TUTOR PERINI CORPORATION and
P CORPORATION

By:

Kerineth Arthur Rigby, Esq.

15 Maiden Lane, Suite 1500
New York, New York 10038
(212) 629-7575
.. Case 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15. Page 30 of 67 PagelD #: 30

TO:

Sacco & Fillas, LLP
Attorneys for Plaintiff
31-19 Newtown Avenue
Seventh Floor

Astoria, NY 11102
(718) 746-3440
Case 1:15-cv-00228-NGG-CLP Document 1 Filed 01/15/15 Page 31 of 67 PagelD #: 31
SACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff, RESPONSE TO
REQUEST FOR
-against- SUPPLEMENTAL
DEMAND PURSUANT
TUTOR PERINI CORPORATION, PERINI CORPORATION and TO CPLR 3017 (c)
"JOHN DOE", DATED NOVEMBER 22,
Defendants. 2014
COUNSELORS:

Plaintiff, CARRIE WILLIAMS, by her attorneys, Sacco & Fillas, LLP, in response to the
various demands of the defendants, TUTOR PERINI CORPORATION and PERINI
CORPORATION:

1. The total damages to which the plaintiff dee
($1,000,000.00) Dollars.

Dated: Astoria, New York
December 16, 2014

Astoria,
(718) 746-3440
Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY,
Attorneys for Defendants

15 Maiden Lane

Suite 1500

New York, New York 10038
(212) 629-7575

5ACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
AFFIDAVIT OF MAIL
-against- SERVICE

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND "JOHN DOE",,
Defendants.

STATE OF NEW YORK
COUNTY OF QUEENS

Danielle M. Kuchinskas, being duly sworn, says:

I am not a party to the action; I reside at Queens, New York, and I am over 18 years of
age,

On Decemberoi(Q, 2014, I served the within RESPONSE TO REQUEST FOR
SUPPLEMENTAL DEMAND PURSUANT TO CPLR 3017 (c) DATED NOVEMBER 22,
2014 by depositing a true copy thereof, enclosed in a post-paid wrapper, in an official depository
under the exclusive care and custody of the United States Postal Service within New York State,
addressed to the following at the last known address set forth below:

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
15 Maiden Lane, Suite 1500
New York, New York 10038

NOTARY PUBLIC "9 iagion, 2. %8eng oo
Ss

Case 1:15-cv-00228-NGG-CLP Document 1 Filed 01/15/15 Page 35 of 67 PagelD #: 35
REQUEST FOR JUDICIAL INTERVENTION

UCS-840 (7/2012)
Supreme COURT, COUNTY OF KINGS
Index No.: 15131/14 Date Index Issued:

October 24, 2014

CARRIE WILLIAMS

Plaintiff(s)/Petitloner(s)

Pall Dates: *

-against-

TUTOR PERINI CORPORATION, PERINI CORPORATION and "JOHN DOE",

Defendants(s)/Respondent(s)

MATRIMONIAL

GOMMERCIAL

© Contested
NOTE: For all Matrimonial actions where the parties have children under
the age of 18, complete and attach the MATRIMONIAL RJI Addendum
For Uncontested Matrimonial Actions. use Rul form UD- 13

© Business Entity (including corporations, partnerships, LLCs, etc.}
© Contract

© Insurance (where insurer is 4 party, except arbitration
© UGG (Including sales, negotiable instruments)

© Other Commercial:

Oo “Asbestos
© Breast Implant
© Environmentat:

(spacity)
NOTE: For Commercial Division assignment requests [22 NYCRR §

(specify)

© Medical, Dental, or Podiatric Malpractice
@ Motor Vehicle

_202 ZG) complete and attach the COMMERCIAL DIV Rui Addendum

Mortgage Foreclosure (specify): Residential Commercial
© Foreclosure
© Products Liability: Property Address:
(specify) Street Address city State Zip
© Other Negligence: NOTE: Fer Foreclosure actions Involving a one- to four-family, owner-
{specily} occupied, residentiat property, or an owner-occupied condominium
© Other Professionat Malpractice: complete and attach the FORECLOSURE RJ! Addendum.
(specify) ©. Tax.Certiorari - Section. Block: Lot:
© Tax Foreclosure
© Other Tort: © Other Real Property:
(specify) (specify)
OTHER MATTERS:::

oO Condemnation

-|SPECIAL: PROCEEDINGS:

© Certificate of incorporeiionbblesctution seo ‘NOTE under Commercial]
© Emergency Medical Treatment

© Habeas Corpus

© Local Court Appeal

© Mechanic's Lien

© Name Change

© Pistol Permit Revocation Hearing

© Sale or Finance of Religious/Not-for-Profit Property

© Other:

{specify)

© CPLR Article 75 (Arbitration) [eee NOTE under Commercial}
© GPL Article 78 (Body or Officer}

© Election Law

© MHL Article 9.60 (Kendra's Law)

© MEL Article 10 (Sex Offender Confinament-Initiat)

© MHL Article 10 (Sex Offender Confinament-Review)

O MHL Article 81 (Guardianship)

© Other Mental Hygiene:

{specify}
© Other Special Proceedings:

(specify)

Has a summons and complaint or summons w/notice been filed? @)
Has a summons and complaint or summons w/notice been served? @
Is this action/proceeding being filed post-judgm ent? O

lt yes, date filed:
If yes, date served:
if yes, judgment date:

10/24/14
13/14

INATURE:OF JUDICIAE;INTERVENTION
oO Infant’s Compromise
Oo Note of Issue and/or Certificate of Readiness
© Notice of Medical, Dental or Podiatric Malpractice Date Issue Joined:
0 Notice of Motion Relief Sought: Return Date:
oO Notice of Petition Relief Sought: Return Date:
oO Order to Show Cause Relief Sought: Return Date:
oO Other Ex Parte Application Relief Sougt:
oO Poor Person Apptication Relief Sought:
© Request for Preliminary Conference
Oo Residential Mortgage Foreclosure Settlement Conference
© Writ of Habeas Corpus
© Other (specify):
Case Title Index/Case Neo. Court Judge (if assigned) ;Relationship to instant Case
NONE
Un- | List parties in caption order and iseue Carrler(s)
: | i Jolned = [Insurance Carrler(s):
Rep [3 . Provide name, firm name, business address, phone number and e-mait *
adnan. (6.9. defendant, address of all attorneys that have appeared In the case. {Y/N}:
Willams Sacco Tonino
Last Name Last Name First Name
Carrle Sacco & Fillas, LLP @) ves
First Name Firm Nama
C] Primary Role: 31-19 Newtown Avenue Astoria New York 11102
Plaintiff Streat Addrasa Clty State Zip O No
Secondary Role (It any): 7187463440 71874641 17 tsacco@saccofilias.com
Phone Fax. &-mall
Tutor Perini Corporation
Last Name Last Name First Name @)
Law Offices of Kenneth Arthur Rigby, PLLC YES
Cc First Name Firm Name Zurich Insurance
Primary Role: 15 Malden Lane New York NY Company
Defendant Street Address City State Zip O NO
Secondary Aole (Ht any): 2126297875
Phons Fax a-malt
Perini Corporation
Lest Name Last Name First Name @)
Law Offices of Kenneth Arthur Rigby, PLLC YES
CI First Name ~ Firm Name .
Primary Role; 15 Maiden Lane New York NY
Street Address City State Zip
Secondary Role (it any}: 2126297575 O NO
Phone Fax a-mall
"DOE" JOHN
Last Name Last Name First Name
First Name Firm Name
Primary Rote: Hawthorne NY
Streat Address City State Zip.
Secondary Rote (if any}: *
Phone Fax e-mail

| AFFIRM UNDER THE PENALTY OF PERJURY THAT, TO MY KNOWLEDGE, OTHER TH
HAVE BEEN NO RELATED ACTIONS OR PROCEEDINGS, NOR HAS A REQUEST FOR JU
FILED IN THIS ACTION OR PROCEEDING.

December 16, 2014

Dated:

2375772

ABOVE, THERE ARE AND
ON PREVIOUSLY BEEN

ATTORNEY REGISTRATION NUMBER

RINT OR TYFE NAME
\CCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
REQUEST FORA
~against- PRELIMINARY
CONFERENCE
TUTOR PERINI CORPORATION, PERINI CORPORATION and
"JOHN DOE",
Defendants.

The undersigned requests a preliminary conference.

The nature of the action is to recover money damages for personal injury due to

defendants’ negligence.

The names, addresses and telephone numbers of the attorneys appearing herein are:

SACCO & FILLAS, LLP
Attorneys for Plaintiff, CARRIE WILLIAMS
31-19 Newtown Avenue
Seventh Floor
Astoria, New York 11102
(718) 746-3440

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendant, TUTOR PERINI CORPORA ON And PERINI CORPORATION

Dated: Astoria, New York
December 16, 2014

Seventh Floor
Astoria, New York
(718) 746-3440

Our File No.: 136

wCCO & FILLAS, LLP

HSe 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15. Page 39 of 67 PagelD #: 39

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendant

15 Maiden Lane

Suite 1500

New York, New York 10038

(212) 629-7575

\CCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
AFFIDAVIT OF MAIL
-against- SERVICE

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND "JOHN DOE",,

Defendants.

STATE OF NEW YORK
COUNTY OF QUEENS

Danielle M. Kuchinskas, being duly sworn, says: -

I am not a party to the action; I reside at Queens, New York, and I am over 18 years of
age.

On December A2Ug , 2014, I served the within Request for a Preliminary Conference and
Request for Judicial Intervention by depositing true copies thereof, enclosed in a post-paid
wrapper, in an official depository under the exclusive care and custody of the United States Postal

Service within New York State, addressed to the following at the last known address set forth
below:

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
15 Maiden Lane, Suite 1500
New York, New York 10038 : ‘

NOTARY PUBLIC *

1

|

iACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO, 15131/14
CARRIE WILLIAMS,
Plaintiff,
NOTICE TO ADMIT
-against-

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND "JOHN DOE",,
Defendants.

PLEASE TAKE NOTICE that the plaintiff hereby requests that the defendants, pursuant
to the provisions of Section3123 of the Civil Practice Law and Rules, and within twenty (20) days
after service of this notice, admit, for the purpose of this action only and subject to all pertinent
objections to admissibility which may be interposed at the trial, the following:

1. On or about July 10, 2014, TUTOR PERINI CORPORATION was the owner of a
certain automobile, bearing license plate number CHB8129.

2. On or about July 10, 2014, TUTOR PERINI CORPORATION was the registered
owner of a certain automobile, bearing license plate number CHB8129,

3. On or about July 10, 2014, TUTOR PERINI CORPORATION was the titled owner of
a certain automobile, bearing license plate number CHB8129.

4. Onor about July 10, 2014, PERINI CORPORATION was the owner of a certain
automobile, bearing license plate number CHB8129.

5, On or about July 10, 2014, PERINI CORPORATION was the registered owner of a

certain automobile, bearing license plate number CHB8129.

6. On or about July 10, 2014, PERINI CO ION was the titled owner of a certain

Dated: Astoria, New York
December 16, 2014

By: Tonio Sacco NJ

Li

’ CHse 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 Page 43 of 67 PagelD #: 43

SACCO & FILLAS, LLP
Attorneys for Plaintiff
31-19 Newtown Avenue
Seventh Floor

Astoria, New York 11102
(718) 746-3440

Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendants

15 Maiden Lane

Suite 1500

New York, New York 10038

(212) 629-7575

ACCO & FILLAS, LLP

1CCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
AFFIDAVIT OF MAIL
-against- SERVICE

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND "JOHN DOE",,
Defendants.

STATE OF NEW YORK
COUNTY OF QUEENS

Danielle M. Kuchinskas, being duly sworn, says:

I am not a party to the action; I reside at Queens, New York, and i am over 18 years of
age.

On Decemberx(Q, 2014, I served the within Notice to Admit by depositing a true copy
thereof, enclosed in a post-paid wrapper, in an official depository under the exclusive care and
custody of the United States Postal Service within New York State, addressed to the following at
the last known address set forth below:

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
15 Maiden Lane, Suite 1500
New York, New York 10038 “

NOTARY PUBL

ACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
PLAINTIFF'S DEMAND
-against- FOR A VERIFIED BILL
OF PARTICULARS
TUTOR PERINI CORPORATION, PERINI CORPORATION and
"JOHN DOE",
Defendants.

COUNSELORS:

PLEASE TAKE NOTICE, that pursuant to Section 3044 and Rule 3042 of the Civil
Practice Law and Rules, defendants are hereby required to serve a Verified Bill of Particulars
upon the undersigned within thirty (30) days after the receipt of this demand.

TAKE FURTHER NOTICE, in the event of your failure to comply with this Demand
for a Verified Bill of Particulars within said time, a motion will be made for an order of preclusion
concerning the following items.

1. A detailed statement of the act or acts of negligence, culpability, lack of care or
omissions on the part of the plaintiff which it will be claimed caused or contributed to the accident
and/or injuries suffered by the plaintiff.

a. Set forth the time of each of said acts and/or omissions.

b. Set forth the location of each of said acts and/or omissions.

c. A statement of what risk it will be claimed the plaintiff assumed.

d, Set forth the time when said risk was assumed.

é. Set forth the exact location where said risk was assumed.

f. State whether the alleged assumption of risk was voluntary or involuntary.

g. Set forth a detailed statement of the acts and/or omissions on the part of the
plaintiff which it will be claimed constituted assumption of risk and the manner in which it will be

claimed said risk was assumed.

CCO & FILLAS, Lip

2. A statement indicating the basis for Defendants’ assertion that Plaintiff did not
suffer serious and permanent injuries.

3. A statement of the degree, extent and proportion to which it will be claimed the
plaintiff's alleged negligence contributed to the accident and/or to the injuries suffered by the
plaintiff.

4, Set forth the proportion, extent, degree and nature of the plaintiff's injuries and/or
damages it will be alleged the acts and/or omissions of the plaintiff caused, continued or
contributed to the plaintiff's injuries.

5. State whether it will be claimed that the plaintiff's alleged negligent acts were
committed and/or omitted by the plaintiff solely or jointly with other persons.

a. If with other persons, set forth the names and addresses of the other persons,

b. Set forth a detailed statement of the act or acts of negligence and/or omissions
which will be alleged on the part of each other person.

c. Set forth the degree, extent and/or proportion to which it will be claimed the
alleged negligence of each other person contributed to the accident.

d. Set forth the time and location of each of the aforementioned acts by each
person.

6, Set forth by section and title, statutes, regulations, rules, ordinances, and any other
laws it will be claimed were violated by plaintiffs.

7. Name each party alleging lack of jurisdiction.

a) Separately state as to each defendant that raises this defense whether defendant
denies ever receiving a copy of the summons and complaint.

b) If the answer to the last question was in the negative, set forth separately as to
each defendant raising the defense each date, day of week, time and place defendant received a
copy of the summons and complaint, and describe the manner in which a copy of the summons
and complaint was received on each such occasion. If the copy was received from another person

on any such occasion name that person and state that person's relationship, if any, to defendant. If

(CO & FILLAS, LLP

the person's name is not known, describe the person.

8. The name, address, and reason for claimed necessity of joinder for each party
allegedly not joined, for which it is claimed there should have been joinder.

9, The title, caption, court, venue, date of commencement, and index number for the
alleged prior action, as well as the name, address and telephone number of each attorney
appearing therein.

10. The section and title of each statute, regulation, rule, ordinance, and any other law
it will be claimed was violated by plaintiffs.

11. A statement indicating the basis for Defendants’ assertion that plaintiff fails to state
a cause of action upon which relief may be granted upon these answering defendants.

12. _ A statement indicating the basis for Defendants’ assertion that if plaintiff was
caused to suffer any loss or damages as alleged in the Complaint, such were caused, in whole or in
part, by reason of the carelessness and negligence on the part of the plaintiff, without any fault,
negligence or want of care on the part of these answering defendants contributing thereto.

13, A statement indicating the basis for Defendants’ assertion that plaintiff has failed
to mitigate his damages.

14. A statement indicating the basis for Defendants’ assertion that the liability of these
answering defendants, if any, pursuant to the provisions of CPLR §1601, is limited to the
percentage of culpability found against them individually, and these answering defendants shall
not be responsible for any percentage of culpability attributed to other individuals and/or entities,
whether named or unnamed, over whom plaintiff could have obtained personal jurisdiction with
due diligence.

15. A statement indicating the basis for Defendants’ assertion that any past or future
cost or medical expenses incurred or to be incurred by plaintiff for medical care, custodial care or
rehabilitative services, loss of earnings, or other economic loss, has or will with reasonable
certainty have replaced or indemnified in whole or in part from collateral sources as defined under

Section 4545 of the New York Civil Practice Law and Rules, and if any damages are recovered

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against these answering defendants, the amount of such damages shall be diminished by the
amount of funds which plaintiff has or shall receive from such collateral sources as insurance,
social security, workers compensation, or employee benefit programs.

16. | A statement indicating the basis for Defendants’ assertion that if plaintiff has or will
suffer any damages as alleged, such were caused solely by the acts or omissions of third parties
over whom these answering defendants exercised no control.

17. A statement indicating the basis for Defendants' assertion that the alleged
defect/condition upon which plaintiff was injured was open and obvious and defendants,
therefore, owed plaintiff no duty and cannot be found negligent.

18. A statement indicating the basis for Defendants' assertion that plaintiff knowingly
and voluntarily assumed the risk of injury.

19. Astatement indicating the basis for Defendants' assertion that plaintiff did not
sustain serious injury as defined in Section 5102(d) of the Insurance Law.

20. A statement indicating the basis for Defendants! assertion that plaintiff failed to
sustain economic loss greater than basic economical loss so as to satisfy the exceptions to Section
5104 of the Insurance Law.

21. A statement indicating the basis for Defendants’ assertion that plaintiff's failed to
sustain economic loss greater than basic economic loss so as to satisfy the exceptions to Section
5104 of the Insurance Law.

22. A statement indicating the basis for Defendants’ assertion that plaintiff's actions
were the sole proximate cause of her injuries.

23. A statement indicating the basis for Defendants' assertion that this Court lacks
subject matter jurisdiction over these defendants.

24, A statement indicating the basis for Defendants’ assertion that this court lacks
personal jurisdiction over these defendants in that service was not properly made.

25. A statement indicating the basis for Defendants’ assertion that these defendants are

not properly before the Court.

- Case 1:15-cv-00228-NGG-CLP Document 1 Filed 01/15/15 Page 50 of 67 PagelD #: 50

26. A statement indicating the basis for Defendants’ assertion that these defendants are

not proper parties to this action.

Dated: Astoria, New York
December 16, 2014

By: Tonino Sacc
SACCO &

Astoria, New York 11102
(718) 746-3440
Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendants

15 Maiden Lane

Suite 1500

New York, New York 10038

(212) 629-7575

\CCO & FILLAS, LLP

CCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
. PLAINTIFF'S
-against- COMBINED DEMANDS
FOR DISCOVERY

TUTOR PERINI CORPORATION, PERINI CORPORATION and
"JOHN DOE’,

Defendants.

COUNSELORS:

PLEASE TAKE NOTICE, that pursuant to Article 31 of the CPLR, demand is hereby
made for the following information:

1. Any written report of the incident by any agent, servant or employee of the
defendant(s).

2, The names and addresses of any and all persons claimed by any party you represent to
have either witnessed the occurrence alleged in the Complaint or the nature and duration of the
alleged condition which allegedly caused the occurrence alleged in the Complaint, or who have
firsthand knowledge of the facts and circumstances regarding this occurrence, whether their
identity was learned by the defendant(s) at the scene of the occurrence or thereafter obtained by
their attorneys or representatives. If no such persons are known to the defendant(s) or their
representatives, so state in reply to this demand. The undersigned will object upon the trial to the
testimony of any witnesses not identified,

3. Any and all statements made by or taken from each party and his, her or its agents,
servants or employees in this action presently in your possession or subject to the custody of any
tepresentative, agent, servant or employee of any party you represent in this action if such
statement in any manner bears on the issues in this action,

4, In the event the operator owns his/her own motor vehicle, provide the limits of

coverage of the operator’s insurance policy and pursuant to CPLR 3101(£) the contents of such

CCO & FILLAS, LLP

insurance policy. Furthermore, state any information as to excess coverage or other coverage in
effect on behalf of the defendant-operator on the date of the accident.

3. Any and all photographs in your possession or subject to your custody and control or
in the possession or subject to the custody and control of any representative, agent, servant or
employee of the party(s) depicting the scene of this accident, immediately prior thereto, or shortly
after the alleged accident, which is the subject of this accident,

6. In the event one or more vehicles were involved in the occurrence, provide any and all
photographs in your possession, or subject to your custody and control, or in the possession or
subject to the custody and control of any representative, agent, servant or employee of the party
depicting the vehicles involved before or after the occurrence.

7. The limits of coverage of the defendant’s insurance policy and pursuant to CPLR
3101(f) the contents of such insurance policy. Furthermore, state any information you have as to
excess coverage or other coverage in effect on behalf of the defendant(s) on the date of the
accident.

8. Any and all medical records, investigation reports and any other record or report in
defendant’s possession or prepared by any servant or agent of the defendant as respects the
occurrence herein being litigated excluding any documents prepared specifically for the purpose of
this litigation.

9. Any and all photographs, surveillance photographs and videotapes of the plaintiff(s) in

| the possession of the defendant(s), their attorneys, agents, servants and/or employees,

PLEASE TAKE FURTHER NOTICE that production and discovery of this information
is to take place within thirty (30) days of this notice, at the office of the undersigned at the
address listed below. However, a written communication enclosing the information requested may
be sent prior to the date stated above in lieu of a personal appearance.

PLEASE TAKE FURTHER NOTICE that the foregoing ate continuing demands and
that if any of the above items are obtained after the date of this demand, they are to be furnished

within a reasonable time after becoming known.

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-« Chse 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15. Page 53 of 67 PagelD #: 53

\CCO & FILLAS, LLP

PLEASE BE ADVISED that upon the failure to comply with this demand, the

defendant(s) will be precluded, upon the trial of this action, foi pffering into evidence or

testifying as to any of the reports, records, photograp Amony of witnesses not previously

disclosed.

Dated: Astoria, New York
December 16, 2014

SACCO & FILLAS, LLP
Attorneys for Plaintiff
31-19 Newtown nue
Seventh
Astoria, New York 11102
(718) 746-3440

Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendants

15 Maiden Lane

Suite 1500

New York, New York 10038

(212) 629-7575

iCCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
CROSS-NOTICE OF
-against- DEPOSITION
TUTOR PERINI CORPORATION, PERINI CORPORATION and
"JOHN DOE",
Defendants.
SIRS:

PLEASE TAKE NOTICE, that pursuant to the Civil Practice Laws and Rules, the

depositions of the Defendant(s) will be taken upon oral examination as follows:

PLACE: KINGS COUNTY
DATE: TO BE DETERMINED
TIME: — TO BE DETERMINED

PLEASE TAKE FURTHER NOTICE, that said Defendant(s) are hereby required to
testify at such examination and shail produce, pursuant to Rule 3111 of the CPLR, at said
examination, all books, records, forms, slips and other information kept in the course of business

of said Defendant(s) for the inspection by the Plaintiff(s)’ attorneys,and to refresh the witness’

recollection with respect to the circumstance. ding the date of the accident

on which this claim is based.

Dated: Astoria, New York
December 16, 2014

By: Tonino Sacco
SACCO & FILLAS
Attorneys {or Plaisttitf

31-19 Newtown Avenue
Seventh Floor

Astoria, New York 1110
(718) 746-3440

- GBse 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 -Page 55 of 67 PagelD #: 55

CCO & FILLAS, LLP

Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendant

15 Maiden Lane

Suite 1500

New York, New York 10038

(212) 629-7575

5ACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
NOTICE OF
-against- AVAILABILITY FOR
PHYSICAL

TUTOR PERINI CORPORATION, PERINI CORPORATION AND EXAMINATION
"JOHN DOE",,

Defendants.

SIRS:

PLEASE TAKE NOTICE, that pursuant to the rules governing physical examinations and
exchange of medical information, the plaintiff(s) in the within action desires that the defendant(s) hold a
physical examination of plaintiffs,

That such examination will be held at:

PLACE: PHYSICIAN IN THE KINGS
DATE: TO BE DETERMINED
TIME: TO BE DETERMINED

Annexed hereto are duly executed and acknowledged written authorizations permitting the
defendant(s) to obtain and make copies of all hospital records and such other records including X-Rays
and technician’s reports as may be referred to and identified in the statement of the plaintiff physicians.

PLEASE TAKE FURTHER NOTICE, that the undersigned will within 20 days before the
date set for examination serve upon all parties in the within action copies of all medical reports,

including X-Rays and technical reports of all physicians who have previously treated or examined the

plaintiffs.

Dated: Astoria, New York
December 16, 2014

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SACCO LLAS, L

- Gase 1:15-cv-00228-NGG-CLP Document1 Filed 01/15/15 Page 57 of 67 PagelD #: 57

Attorneys for Plaintiff
31-19 Newtown Avenue
Seventh Floor

Astoria, New York 11102
(718) 746-3440

Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendants

15 Maiden Lane

Suite 1500

New York, New York 10038

(212) 629-7575

jACCO & FILLAS, LLP

4CCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
PLAINTIFF'S DEMAND
-against- FOR EXPERT
WITNESSES
TUTOR PERINI CORPORATION, PERINI CORPORATION and
"JOHN DOE",
Defendants.
SIRS:

PLEASE TAKE NOTICE that pursuant to CPLR 3101, plaintiff(s) herein request that
defendant(s) make disclosure within thirty (30) days of service of the within response to each and
every demand set forth herein.

In the event that defendant(s) is unable to fully respond, set forth the reasons(s) or
cause(s) for such inability or the absence of response, and in that event plaintiff(s) believes that
such response(s) may become relevant as to expert(s) hereafter engaged or who may later become
expected to give expert testimony, state such fact(s) or circumstance(s), and the date or time
hereinafter when such response may thereby become available for disclosure. This Request shall
be deemed to be continuing, and as to any matters herein requested which shall become available
for disclosure at a future time in the within action, this Request shall have continuing applicability
and require timely disclosure at: the office of Sacco & Fillas, LLP 31-19 Newtown Avenue,
Seventh Floor, Astoria, New York 11102.

(1) Identify, by full name, address, profession and business address, with complete
detail, and area of expertise and specialty, each and every person intended, expected or who shall
be called at trial as an “expert witness” on any issue, matter or subject;

(2) State all qualifications of each such witness, including full details of education,
experience, degrees, professional societal posts and past an present association(s); past and

present employment or other associations of whatever nature in each expert’s field of professional

ACCO & FILLAS, LLP

endeavor(s) or expertise; any awards, honors or qualifications; appointments or office held in any
society, organizations institute, committee, private or governmental affiliation or any consultant or
other post with or for any organization or body related to his field of expertise or profession,
article(s), book(s), publication(s) of any kind, lecture(s), seminar(s), professional or occupational
paper(s) or any other form of professional communication or publication of a public nature,
related in any way to the area of expertise of the witness(s) upon which testimony may be
offered; any and all information, facts, curriculum vitae or other data which explains, identifies or
bears upon the qualification or absence thereof of the witness(s).

(3) State all subjects and matters in reasonable informative detail upon which each and
every expert shall or is expected to testify.

(4) Separately state in reasonable detail each fact assumptions, circumstances
and incident/accident related information upon which each expert shail or is expected to consider,
evaluate or use in connection with any testimony to be offered,

(5) Separately state in reasonable detail each opinion(s), with identification of the
source to such opinion upon which each expert shall or is expected to testify;

(6) For each and every opinion which shall or is expected to by each expert, whether
such expression of opinion is based upon preliminary or previously expressed opinion or is based
upon matters, facts, assumptions or circumstances originally derived by him or provided to him,
provide a summary of all grounds for each and every such opinion, and each separately
identifiable and independent opinion. Such summary shall not_omit or exclude a material, relevant

or factual ground or circumstances, notwithsta

or conclusory nature of the

grounds.

Dated: Astoria, New York
December 16, 2014

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Seventh Fioor

Astoria, New York 11102
(718) 746-3440

Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendant

15 Maiden Lane

Suite 1500

New York, New York 10038

(212) 629-7575

ACCO & FILLAS, LLP

SACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
PLAINTIFF'S DEMAND
-against- FOR ADDRESSES
TUTOR PERINI CORPORATION, PERINI CORPORATION and
"JOHN DOE",
Defendants.
COUNSELORS:

PLEASE TAKE NOTICE, that pursuant to Section 3118 of the Civil Practice Law and
Rules, plaintiff, by the undersigned attorneys, hereby demands that defendants serve upon the

offices of the undersigned, within thirty (30) days of the date-efthis demand, a verified statement

setting forth the post office address and residenee Hefendants in sufficient detail to

permit ready location.

Dated: Astoria, New York
December 16, 2014

Seventh Floor
Astoria, New York 11102
(718) 746-3440

Our File No.: 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, /PLLC
Attorneys for Defendant

15 Maiden Lane

Suite 1500

New York, New York 10038
(212) 629-7575

SUPREME COURT OF THE STATE OF NEW YORK

CQUNTY OF KINGS
INDEX NO. 15131/14
CARRIE WILLIAMS,
Plaintiff,
NOTICE DECLINING
-against~- SERVICE VIA
ELECTRONIC MAIL OR
nd TOR PERINI CORPORATION, PERINI CORPORATION and FAX
"JQHN DOE",
Defendants.

COUNSELORS:

facsimile (FAX) transmittal or by any othk

Dated: Astoria, New York
December 16, 2014

Seventh Floor

Astoria, New York 11102
(718) 746-3440

Our File No.:; 13622-14

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC
Attorneys for Defendant

15 Maiden Lane

sip 1500

New York, New York 10038
(2112) 629-7575

ACCO & PILLAS, LLP

ACCO & FILLAS, LLP

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
INDEX NO, 15131/14
CARRIE WILLIAMS,
Plaintiff,
AFFIDAVIT OF MAIL
-against- SERVICE

TUTOR PERINI CORPORATION, PERINI CORPORATION
AND "JOHN DOE",,

Defendants.

STATE OF NEW YORK
COUNTY OF QUEENS

Danielle M. Kuchinskas, being duly sworn, says:

I am not a party to the action; I reside at Queens, New York, and I am over 18 years of
age.

On Decemberse O 2014, I served the within DEMAND FOR BILL OF
PARTICULARS, COMBINED DEMANDS FOR DISCOVERY AND INSPECTION,
CROSS NOTICE EXAMINATION BEFORE TRIAL, NOTICE OF AVAILABILITY ’
DEMAND FOR EXPERT WITNESSES, DEMAND FOR ADDRESSES, NOTICE
DECLINING SERVICE VIA ELECTRONIC AND FAX by depositing a true copy thereof,
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of

the United States Postal Service within New York State, addressed to the following at the last
known address set forth below:

LAW OFFICES OF KENNETH ARTHUR RIGBY, PLLC

15 Maiden Lane, Suite 1500 ‘ !

New York, New York 10038
DANIELLE M. KUCHINSKAS

Sworn

) before ff
on DedemberX¢()

NOTARY/PUBLI®

TONINO SACCO
Notary Puniic, Siate of New York
No. 02844979498
Qualified if Queens Courity
miasion Exnires 04/01/2015

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Case 1:15-cv-00228-NGG-CLP Document 1 Filed 01/15/15 Page 65 of 67 PagelD #: 65
Entity Information

NYS Department of State

Division of Corporations

Entity Information

The information contained in this database is current through January 14, 2015.

Paget of 2

Selected Entity Name: TUTOR PERINI CORPORATION

Selected Entity Status Information
Current Entity Name: TUTOR PERINI CORPORATION

DOS ID #: 32432
Initial DOS Filing Date: SEPTEMBER 16, 1932
County: NEW YORK
Jurisdiction: MASSACHUSETTS
Entity Type: FOREIGN BUSINESS CORPORATION

Current Entity Status: ACTIVE

Selected Entity Address Information

DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)

C/O C T CORPORATION SYSTEM
111 EIGHTH AVENUE
NEW YORK, NEW YORK, 10011

Chief Executive Officer
RONALD N. TUTOR

15901 OLDEN STREET
SYLMAR, CALIFORNIA, 91342

Principal Executive Office
TUTOR PERINI CORPORATION
15901 OLDEN STREET
SYLMAR, CALIFORNIA, 91342

Registered Agent
C T CORPORATION SYSTEM

111 EIGHTH AVENUE
NEW YORK, NEW YORK, 10011

http://appext20.dos.ny.gov/corp_public/CORPSEARCH.ENTITY_INFORMATION?p na...

1/15/2015
Entity Information

This office does not record information regarding
the names and addresses of officers, shareholders or
directors of nonprofessional corporations except the
chief executive officer, if provided, which would be
listed above. Professional corporations must include

the name(s) and address(es) of the initial officers,

directors, and shareholders in the initial certificate
of incorporation, however this information is not
recorded and only available by viewing the

Sertelicare.

*Steck Information

# of Shares Type of Stock $ Value per Share
No Information Available

*Stock information is applicable to domestic business corporations.

Name History

Fiting Date Name Type Entity Name
JUN 23, 2009 Actual TUTOR PERINI CORPORATION
MAR 04, 1957 Actual PERINI CORPORATION
SEP 16,1932 Actual B. PERINI & SONS, INC.

A Fictitious name must be used when the Actual name of a foreign entity is unavailable for use in New
York State. The entity must use the fictitious name when conducting its activities or business in New
York State.

NOTE: New York State does not issue organizational identification numbers.

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| Disclaimer | Return io 0

http://appext20.dos.ny.gov/corp _public/(CORPSEARCH.ENTITY _INFORMATION?p_na... 1/15/2015
